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IN THE UNITED STATES DISTRICT COURT z % `
FOR THE WESTERN DISTRICT 0F TENNESSEE 95 pp Y 97 PF , ,,

WESTERN DIVISION "`* ~ l 12 ' ug
UNITED sTATEs OF AMERICA,
Plaintiff,
vs. Case No. 04-20172-Ma
DANIEL MCLENNAN
Defendant.

 

AMENDED ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORI)ERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $1,000.00,

payable to BRENDA McLENNAN at ** P.O. BOX 1172 Memphis TN, 38101 in full refund of the

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SAMUEL H. MAYS, JR.
United States District Judge

cash appearance bond posted herein.

 

Approved.
Robert R. i Trolio, Clerk of Court

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case 2:04-CR-20172 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

